
*198MEMORANDUM BY
CHIEF JUSTICE CAMPBELL
This case was referred to a commissioner of the court, to whose report there is no exception. Only one question is presented and that is upon the right of the Government to retain a deduction of'2 per centum of the amount admitted to be due as the consideration for the qualified release. The court has held that such a right does not exist in a case where the same question was presented. See Pawling &amp; Co. case, 60 C. Cls. 699, 707, 712. This case was affirmed, 273 U. S. 665. See also McClintic-Marshall Co., 59 C. Cls. 817. Judgment is awarded for this item.
Moss, Judge; Graham, Judge; and Booth, Judge, concur.
